                 Case 2:15-cr-00015-TLN Document 151 Filed 06/05/17 Page 1 of 3


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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-00015-GEB
12                                 Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                           v.                           [PROPOSED] FINDINGS AND ORDER
14   GURDEEP SINGH,                                       DATE: June 2, 2017
                                                          TIME: 9:00 a.m.
15                                 Defendant.             COURT: Hon. Garland E. Burrell, Jr.
16

17                                                STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.       By previous order, this matter was set for status on June 2, 2017.

21          2.       By this stipulation, defendant now moves to continue the status conference until August

22 4, 2017, and to exclude time between June 2, 2017, and August 4, 2017, under Local Code T4.

23          3.       The parties agree and stipulate, and request that the Court find the following:

24                   a)     The government has represented that the discovery associated with this case

25          includes written reports and descriptions of the items found during defendant’s arrest, including a

26          phone. All of this discovery has been either produced directly to counsel and/or made available

27          for inspection and copying.

28                   b)     Counsel for defendant desires additional time to consult with his client, review the


      STIPULATION REGARDING EXCLUDABLE TIME               1
30    PERIODS UNDER SPEEDY TRIAL ACT
                 Case 2:15-cr-00015-TLN Document 151 Filed 06/05/17 Page 2 of 3


 1          discovery, and conduct an investigation.

 2                   c)     Counsel for defendant believes that failure to grant the above-requested

 3          continuance would deny him/her the reasonable time necessary for effective preparation, taking

 4          into account the exercise of due diligence.

 5                   d)     The government does not object to the continuance.

 6                   e)     Based on the above-stated findings, the ends of justice served by continuing the

 7          case as requested outweigh the interest of the public and the defendant in a trial within the

 8          original date prescribed by the Speedy Trial Act.

 9                   f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

10          et seq., within which trial must commence, the time period of June 2, 2017 to August 4, 2017,

11          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

12          because it results from a continuance granted by the Court at defendant’s request on the basis of

13          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

14          of the public and the defendant in a speedy trial.

15          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

16 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

17 must commence.

18          IT IS SO STIPULATED.

19

20
     Dated: June 1, 2017                                       PHILLIP A. TALBERT
21                                                             United States Attorney
22
                                                               /s/ PAUL A. HEMESATH
23                                                             PAUL A. HEMESATH
                                                               Assistant United States Attorney
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25
     Dated: June 1, 2017                                       /s/ ROBERTO MARQUEZ
26                                                             ROBERTO MARQUEZ
27                                                             Counsel for Defendant
                                                               GURDEEP SINGH
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      STIPULATION REGARDING EXCLUDABLE TIME                2
30    PERIODS UNDER SPEEDY TRIAL ACT
            Case 2:15-cr-00015-TLN Document 151 Filed 06/05/17 Page 3 of 3


 1                                      FINDINGS AND ORDER

 2        IT IS SO FOUND AND ORDERED.

 3 Dated: June 2, 2017

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     STIPULATION REGARDING EXCLUDABLE TIME      3
30   PERIODS UNDER SPEEDY TRIAL ACT
